         Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 1 of 6



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



MONTE A ROSE, JR., et al. ,

             Plaintiffs,
                                         Civil Action No. 1:19-cv-2848 (JEB)
   v.


ALEX M. AZAR II, et al. ,

             Defendants.


FEDERAL AND STATE DEFENDANTS’ JOINT REPLY IN SUPPORT OF MOTION
     FOR A STAY PENDING RESOLUTION OF D.C. CIRCUIT APPEALS
          Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 2 of 6



        Plaintiffs’ response to the federal and state defendants’ joint motion is more notable for what

it does not dispute than for what it contests. Plaintiffs do not try to deny that the issues before the

D.C. Circuit in Stewart and Gresham squarely overlap with the issues before this Court, nor do they

attempt to dispute that any ruling by the D.C. Circuit will impact, if not control entirely, the outcome

here. Just the opposite: plaintiffs themselves state that the approval of Indiana’s project is

“substantially similar” to the approvals under review by the D.C. Circuit. Pls.’ Reply 1.

        Plaintiffs likewise do not dispute that the only new components of the Healthy Indiana Plan

(“HIP”) they challenge—the community engagement requirement and redetermination lockouts—

will not cause them harm during the pendency of this lawsuit. As explained in defendants’ joint

motion, the redetermination lockout has been paused since October 2018, and the state recently

announced that it will not suspend the benefits of any Medicaid beneficiary for failure to comply with

the work and community engagement requirement until this lawsuit is resolved. Defs.’ Mot. 4–7, ECF

No. 18; see also Ind. Family & Soc. Servs. Admin. News Release, “Pending resolution of federal lawsuit,

FSSA will temporarily suspend Gateway to Work reporting requirements,” (Oct. 31, 2019) ECF No.

18-2; HIP Monitoring Plan, Q4 Quarterly Report 5, ECF No. 18-3.

        Nor do plaintiffs dispute that a stay will preserve the status quo in Indiana. The preexisting

components of HIP—including premiums, the waiver of retroactive eligibility, and limitations on non-

emergency medical transportation (“NEMT”)—have been in place in the State in some form for years,

without prior legal challenge. Plaintiffs do not contest that these components are longstanding, or that

moving forward with the litigation would only upend this existing state of play.

        Plaintiffs even go so far as to agree that a stay could promote judicial economy, albeit

“theoretically.” Pls.’ Reply 1. Of course, whenever any court stays one case pending the outcome of

another, the benefits to judicial economy are only “theoretical.” The other court could always issue a

ruling the very next day, or rule on an unexpected ground, and a stay in the first case will have made
          Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 3 of 6



no difference. What matters is whether a stay is likely to promote judicial economy, and in

circumstances where that is the case, courts routinely grant stays of proceedings. See, e.g., Fonville v.

D.C., 766 F. Supp. 2d 171, 173 (D.D.C. 2011) (granting stay where rulings on legal issues in other

cases were “likely to be extremely persuasive to, if not binding upon” the district court) (emphasis

added); Fairview Hosp. v. Leavitt, 2007 WL 1521233, at *2 (D.D.C. May 22, 2007) (granting stay where

movant argued that ruling in other cases would “likely obviate the need for further proceedings . . .”)

(emphasis added). Here, plaintiffs do not contest that proceeding with this case now would likely result

in only further litigation, as any briefing or rulings—which would take place in the next six weeks per

plaintiffs’ request—would soon be overtaken by the D.C. Circuit’s decision.

        Rather than contest any of the above, plaintiffs argue that an immediate ruling is necessary in

light of purported harms to Medicaid beneficiaries from preexisting components of Indiana’s project,

such as having to pay premiums and facing potential penalties for failure to do so. Pls.’ Reply 2–3. In

other words, plaintiffs assert that their challenge to the premium requirement, waivers of retroactive

eligibility, and NEMT, which existed in some form since even before Indiana expanded Medicaid,

suddenly warrants judicial resolution now. But even if these components could be said to harm

plaintiffs in some way, the assertion that such harm is of sufficient significance and urgency to justify

an expedited ruling runs into the teeth of plaintiffs’ own actions. For years, plaintiffs left these very

components unchallenged. Presumably, the harms they claim to face now are no different from what

they would have faced for this lengthy period. Plaintiffs cannot sit on their hands for years and then

ask this Court to jump at a moment’s notice. Worse, plaintiffs still have not provided any explanation

for their delay in seeking legal recourse, nor have they explained what is now different to justify

upsetting the status quo before the D.C. Circuit rules in materially similar cases. At bottom, whatever

harms plaintiffs may face from the preexisting components of HIP, plaintiffs’ own actions

demonstrate those harms should not be given controlling weight.


                                                   2
          Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 4 of 6



        In fact, considering (1) the timing of this lawsuit and (2) plaintiffs’ request for full briefing and

a ruling by December 31, 2019 (the previous start date for disenrollment based on noncompliance

with the work and community engagement requirement), the only reasonable inference to draw is that

the real object of this lawsuit is to challenge the work and community engagement requirement. But

since the State has voluntarily suspended that component, the Court should not now credit plaintiffs’

last-ditch effort to refocus their challenge and press ahead with litigation, when controlling guidance

is expected shortly. Indeed, it has now been nearly a month since the D.C. Circuit argument in Stewart

and Gresham, and the federal defendants have requested an expedited decision. While plaintiffs claim

that “many months could pass” before those appeals are resolved, Pls.’ Reply 4, that is nothing

compared to the years plaintiffs chose to wait to challenge HIP’s preexisting components.

        Plaintiffs further complain that Indiana’s decision to suspend disenrollment of HIP

participants for failure to comply with the work and community engagement requirement “could cause

confusion” Pls.’ Reply 4, and that “beneficiaries are already confused,” id. at 6, necessitating an

expedited ruling on plaintiffs’ claims. But this Court should not credit plaintiffs’ illogical argument

that maintaining the status quo will cause more confusion; Indiana’s voluntary suspension of

disenrollment for non-compliance with the work and community engagement requirement means that

beneficiaries are simply encouraged to continue utilizing the Gateway to Work program and available

community engagement resources, and are otherwise dealing with the same requirements that have

been in place in some form for years. Further, plaintiffs fail to articulate how suspending penalties for

failure to complete Medicaid redetermination paperwork will lead to additional confusion amongst

beneficiaries. Finally, Indiana’s Family and Social Services Administration (“FSSA”) has prepared clear

guidance for how it is implementing its suspension of the work and community engagement

requirements. The FSSA website, for example, clearly explains that “the state is not currently enforcing

benefit suspensions and will not until after a federal lawsuit is resolved. Before the program is


                                                     3
             Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 5 of 6



reinitiated, members would receive substantial advance notice regarding the timeline.” See Ind. Family

and Social Servs. Admin., Learn about Gateway to Work, https://www.in.gov/fssa/hip/2592.htm.

Moreover, FSSA has circulated additional guidance to managed care entities in the state and within

days plans to make the same guidance available to the public. See Gateway to Work FAQ, attached as

Exhibit 1.

        Finally, plaintiffs downplay as insignificant the harms to the State from proceeding with this

litigation because defendants expressed them succinctly. See Pls.’ Reply 5. But the State has a valid

interest in continuing to collect information on the components of the demonstration that remain in

place. The State also has a valid interest in maintaining stability of the existing program. And plaintiffs

offer no cogent explanation for why proceeding with this lawsuit—at the risk of a forthcoming D.C.

Circuit decision that will contradict this Court’s decision—would not potentially result in additional

confusion for defendants and for Indiana’s Medicaid beneficiaries.

        For the foregoing reasons, and for the reasons explained in defendants’ moving brief, this

Court should stay this litigation pending the D.C. Circuit’s issuance of a mandate in the Stewart and

Gresham appeals. In the alternative, defendants request that this court allow the federal defendants to

produce the administrative record by November 21, 2019, and thereafter allow the parties to agree

upon and jointly propose a briefing schedule that hews to the normal course of litigation.


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Case 1:19-cv-02848-JEB Document 22 Filed 11/11/19 Page 6 of 6



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